         Case 1:20-cr-00361-ELH Document 67-4 Filed 11/05/21 Page 1 of 1




Jacqueline Piper
4353 Ridge Road
Mount Airy, MD 21771
November 1, 2021
Re: Mr. James Piccirilli
To the Honorable Judge Ellen Hollander,
I am writing on behalf of my brother, Jim.
I have known Jim to be an altruistic person. Jim puts the needs of others above his own. As a kid,
he was always bringing home animals that needed love. He has a genuine love for people and
living things. He wants to fix everyone’s problems for them. He didn’t make the best police
officer because he was “too nice”. He ended up working festivals and the like because he was a
great “community cop”. Nowadays police forces need people like him. I have been trying to
think of specific examples of his good character, but there are too many. He has helped me watch
my kids when I have been exhausted with a newborn, he has helped talked me through my own
problems, he has dropped everything to come help me in my time of need. He has been a
listening ear to me too many times to count. His gentle nature and good character are evident in
every interaction with him. He is not who the Federal Government portrays him to be.
I feel the need to explain his actions of not turning himself in as I had a front row seat to the
events leading up to him leaving. Firstly, myself and many others close to him believe that Jim
has an undiagnosed case of Asperger’s, a form of high functioning autism. People with
Asperger’s are brilliantly intelligent, but they do not process information as we do. They can be
naive, gullible and think that everyone is their friend. They cannot read people. Jim cannot read
people. They often understand the inner-workings of a motor or machine better than they
understand people. They grow attached to objects that they understand. For a long time this was
cars for Jim; then trains, then guns. I have always found it ironic that he has an attachment to
guns because he is a pacifist. He has never been violent. He has an attachment to guns because
he understands their inner-workings. People with Asperger’s can be paranoid. I knew that
something was very wrong the night he left because he seemed terrified. He was wrongfully
accused of sex abuse and the Frederick City police had told him that they were planning on
indicting him. He was hardly sleeping because of this. His mental state slowly deteriorated
because of sleep deprivation. As a Mom of a 9 month old, the reality of sleep deprivation is fresh
in my mind. But, the night that he left I knew that something had happened. He was panicked. I
now know that someone made a threat against his life.
That night I saw Jim experience the ‘Fight or Flight’ response. Jim has absolutely no fight in
him. That is not who he is as a person. So unfortunately that night, he fled. He was not trying to
evade his sentence. He was trying to preserve his life. I believe that is why he had guns with him
too, as he thought he had to protect himself.
I don’t know if his choice to flee had anything to do with Asperger’s. I ask myself what I would
do if I was in his situation. I don’t think anyone can say for sure unless they experienced it
themselves.
I appreciate your time and consideration. Jim is valuable to everyone who knows him.
Sincerely,
Jacqueline Piper
Jackiemhcp@gmail.com
443-974-8522
